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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-CR-543
                                                  :
            v.                                    :    MAGISTRATE NO. 22-mj-33
                                                  :
 LOAMMI YAZDANI-ISFEHANI,                         :    VIOLATIONS:
   a/k/a “Elijah Yazdani,”                        :    18 U.S.C. § 1752(a)(1)
 ABIGAIL YAZDANI-ISFEHANI, and                    :    (Entering and Remaining in a Restricted
 LORUHAMAH YAZDANI-ISFEHANI,                      :    Building)
                                                  :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                Defendants.       :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Violent Entry and Disorderly Conduct in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)

                               SUPERSEDING INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, LOAMMI YAZDANI-

ISFEHANI, a/k/a “Elijah Yazdani,” LORUHAMAH YAZDANI-ISFEHANI, and ABIGAIL

YAZDANI-ISFEHANI, did unlawfully and knowingly enter and remain in a restricted building

and grounds, that is, any posted,cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, wherethe Vice President was temporarily visiting, without lawful authority

to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))


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                                        COUNT TWO

       On or about January 6, 2021, within the District of Columbia, LOAMMI YAZDANI-

ISFEHANI, a/k/a “Elijah Yazdani,” LORUHAMAH YAZDANI-ISFEHANI, and ABIGAIL

YAZDANI-ISFEHANI, did knowingly, and with intent to impede and disrupt the orderly conduct

of Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, within the District of Columbia, LOAMMI YAZDANI-

ISFEHANI, a/k/a “Elijah Yazdani,” LORUHAMAH YAZDANI-ISFEHANI, and ABIGAIL

YAZDANI-ISFEHANI, willfully and knowingly engaged in disorderly and disruptive conduct

within the United States Capitol Grounds and in any of the Capitol Buildings with the intent to

impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of

Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either Houseof Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                        COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, LOAMMI YAZDANI-

ISFEHANI, a/k/a “Elijah Yazdani,” LORUHAMAH YAZDANI-ISFEHANI, and ABIGAIL

YAZDANI-ISFEHANI, willfully and knowingly paraded, demonstrated, and picketed in any United

States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,United
       States Code, Section 5104(e)(2)(G))

                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   D.C. Bar No. 481052


                                              By: /s/ Brittany L. Reed
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